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                                                                                                 E-FILED
                                                                Thursday, 14 January, 2021 03:23:46 PM
                                                                          Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                                PEORIA DIVISION

GREGORY KEMP,                                )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )    Case No.: 17-cv-01404-JBM-JEH
                                             )
FULTON COUNTY, ILLINOIS, a Local             )
Government Entity, JEFF STANDARD,            )
Sheriff of Fulton County in his Individual   )
Capacity; CHRISTOPHER FORD,                  )
Sergeant in his Individual Capacity; and     )
TIFFANY WILLIAMS, Jail Officer in her        )
Individual Capacity; SHELDON BURGET,         )
a Jail Officer in his Individual Capacity,   )
                                             )
       Defendants.                           )

                                   NOTICE OF APPEAL

       Plaintiff-Appellant, GREGORY KEMP, by and through his attorneys, LeFANTE LAW
OFFICES, P.C., appeals from the Decision and Order of the Honorable Joe Billy McDade dated
December 16, 2020, which grants Defendants’ Motion for Summary Judgement. Plaintiff-
Appellant requests the 7th Circuit Appellate Court reverse the Court’s granting of Defendants’
Motion for Summary Judgment and remand for further proceedings.


                                                                 Respectfully submitted,

                                                                 Gregory Kemp, Plaintiff

                                                                 By: s/ James P. LeFante

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                               CERTIFICATE OF SERVICE


        I, James P. LeFante, an attorney, hereby certify that on this 15 day of January 2021, I
caused the foregoing Notice of Appeal to be served on all counsel of record, and court reporting
service, by e-mail and/or by depositing same into the U.S. Mail, first-class postage prepaid,
addressed as follows:


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                                            /s/ James P. LeFante
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